Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 1 of 16




                   Exhibit I
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 2 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 3 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 4 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 5 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 6 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 7 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 8 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 9 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 10 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 11 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 12 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 13 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 14 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 15 of 16
Case 4:07-cv-05944-JST Document 1013-10 Filed 12/12/11 Page 16 of 16
